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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                        CASE NO. 20-24523-CIV-CANNON/Otazo-Reyes

  GILEAD SCIENCES, INC., and
  GILEAD SCIENCES IRELAND UC,

         Plaintiffs,
  v.

  ALLIANCE MEDICAL CENTER, INC., et al.,

         Defendants.
                                                         /

                  ORDER ON DEFAULT FINAL JUDGMENT PROCEDURE

         THIS CAUSE came before the Court upon the Clerk’s Default [ECF No. 498], entered on

  March 12, 2021. Upon a review of the record, it appears that Defendants Baikal Marketing Group,

  Inc., Arsen Bazylenko, Tatiana Rozenblyum, Priority Health Medical Center, Inc., and Nick Myrtil

  have failed to respond to the Complaint or to otherwise appear in this action.

         Accordingly, it is

         ORDERED AND ADJUDGED that Plaintiffs must file one of the following two

  responses by March 29, 2021:

         (1) Where there is only one Defendant, or where there are multiple Defendants, 1 but no

  allegations of joint and several liability, and no possibility of inconsistent liability between

  Defendants, Plaintiffs shall file a motion for default final judgment.

         The motion for default final judgment must include affidavits of any sum certain due by




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    If there are multiple Defendants, Plaintiffs must state in the motion for default final judgment
  that there are no allegations of joint and several liability and set forth the basis why there is no
  possibility of inconsistent liability.
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  Defendants, and any other supporting documentation necessary to determine Plaintiffs’ measure

  of damages. The motion shall also be accompanied by (1) the necessary affidavit under the

  Servicemembers Civil Relief Act, 50 U.S.C. section 3931(b), if applicable; (2) a proposed order;

  and (3) a proposed final judgment. (These last two are required by Local Rule 7.1(a)(2)). Pursuant

  to the CM/ECF Administrative Procedures, the proposed orders shall be submitted to the Court

  by e-mail in Word format to cannon@flsd.uscourts.gov. Plaintiffs shall send a copy of the

  motion to Defendants’ counsel or to Defendants if they do not have counsel. In the certificate of

  service, Plaintiffs shall indicate that notice was sent and the addresses where notice was sent.

         If Defendants fail to move to set aside the Clerk’s Default or respond to the motion for

  default final judgment within the time permitted by the Rules, default final judgment may be

  entered, which, simply put, means that Plaintiffs may be able to take Defendants’ property or

  money, and/or obtain other relief against the Defendants specified in this Order.

         (2) Where there are multiple Defendants and allegations of joint and several liability, or

  the possibility of inconsistent liability between Defendants, Plaintiffs shall file a notice of joint

  liability. See Frow v. De La Vega, 82 U.S. 552, 554 (1872); 10A CHARLES ALAN WRIGHT, ET AL.,

  FEDERAL PRACTICE AND PROCEDURE § 2690 (4th ed. 2017) (citing Frow, 82 U.S. at 554); see also

  Gulf Coast Fans, Inc. v. Midwest Elecs. Imps., Inc., 740 F.2d 1499, 1512 (11th Cir. 1984).

         The notice of joint liability must briefly describe the allegations and advise the Court of

  the status of the other Defendants’ liability. Once liability is resolved as to all Defendants,

  Plaintiffs may move for the entry of default final judgment against the Defendants specified in this

  Order, as described in (1) above, no later than 14 days thereafter.

                       *                             *                             *

         Plaintiffs’ failure to file a motion for default final judgment or notice of joint liability within



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  the specified time will result in a dismissal without prejudice as to the Defendants specified in this

  Order.

           DONE AND ORDERED in Fort Pierce, Florida, this 15th day of March 2021.




                                                            _________________________________
                                                            AILEEN M. CANNON
                                                            UNITED STATES DISTRICT JUDGE

  cc:      counsel of record




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